753 F.2d 770
    1 Fed.R.Serv.3d 35
    Ronald MICKWEE, Plaintiff-Appellee,v.Stephen HSU, Cal-Comp Electronics, Inc., et al., Defendants,andMattaniah Eytan and Kaplan, et al., Defendants-Appellants.
    Nos. 84-2215, 84-2560.
    United States Court of Appeals,Ninth Circuit.
    Feb. 11, 1985.
    
      Mattaniah Eytan, Kaplan, Russin, Vecchi, Eytan &amp; Collins, San Francisco, Cal., for plaintiff-appellee.
      Charles W. Craycroft, Mitchell Zimmerman, Fenwick, Stone, Davis &amp; West, Palo Alto, Cal., for defendants-appellants.
      Appeal from the United States District Court for the Northern District of California.
      Before SNEED, KENNEDY, and BOOCHEVER, Circuit Judges.
      PER CURIAM:
    
    
      1
      This opinion concerns awards of attorney's fees for proceedings in this court in cases where a party appeals a district court order of sanctions for failure to comply with discovery rules.
    
    
      2
      When the trial court has imposed sanctions for failure to comply with discovery and the order is appealed, as a general rule attorney's fees should be awarded where the discovery order is upheld.  Failure to award attorney's fees in such instances would substantially diminish the value of the award made in the trial court and thus frustrate the purpose of Fed.R.Civ.P. 37.   See Tamari v. Bache &amp; Co.  (Lebanon) S.A.L., 729 F.2d 469, 475 (7th Cir.1984).
    
    
      3
      This appeal from the imposition of discovery sanctions must be dismissed for lack of jurisdiction.   Kordich v. Marine Clerks Association, 715 F.2d 1392, 1393 (9th Cir.1983) (per curiam).  Mickwee will be awarded attorney's fees and costs for the appeal upon submission of appropriate documentation.
    
    